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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                                      www.flsb.uscourts.gov

IN RE:                                                        Case No. 21-17153-AJC
                                                              Chapter 7
SANTIAGO PADILLA OCHOA,

      Debtor.
______________________________________/

              TRUSTEE’S OMNIBUS MOTION TO COMPEL PRODUCTION FROM
                         THIRD-PARTIES AND FOR SANCTIONS

         MARCIA T. DUNN, the duly appointed Chapter 7 Trustee (the “Trustee”) for the

bankruptcy estate of SANTIAGO PADILLA OCHOA (the “Debtor”), by and through

undersigned counsel and pursuant to Rule 2004, Federal Rules of Bankruptcy Procedure, files this

Omnibus Motion to Compel Discovery Responses from Third-Parties (the “Motion”) and in

support thereof states as follows:

                               PROCEDURAL BACKGROUND

         1.      On July 23, 2021 (the “Petition Date”), the Debtor commenced his instant

Bankruptcy case with the filing of an incomplete voluntary petition for an individual debtor

seeking relief under Chapter 7, Title 11 of the United States Bankruptcy Code.

         2.      Marcia T. Dunn was thereafter appointed as the Chapter 7 Trustee of the

 Debtor’s bankruptcy estate (the “Estate”).

         3.      The Debtor’s First Meeting of Creditors pursuant to 11 U.S.C. §341 was held and

 concluded September 1, 2021.

                                     RULE 2004 REQUESTS

         4.      On November 16, 2021, the Trustee filed and served the following third-parties

with a Subpoena for Rule 2004 Examination (the “November 16 Subpoenas”), seeking


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production of documents relating to its relationship with the Debtor:

                   a.        Records Custodian of E.C.B Commerce L.L.C. [ECF No. 36]
                   b.        Records Custodian of The Wallace Group, P.L. [ECF No. 38]

          5.           On November 23, 2021, the Trustee filed and served the following third parties

with a Subpoena for Rule 2004 Examination (the “November 23 Subpoenas”) seeking production

of documents relating to its relationship with the Debtor:

                   a.        Records Custodian of 244 Wynwood Project Inc [ECF No. 43]
                   b.        Records Custodian of 251 Wynwood Project Corp [ECF No. 44]
                   c.        Records Custodian of 260 Wynwood Project Inc [ECF No. 45]
                   d.        Diego Basile [ECF No. 47]
                   e.        Records Custodian of JV Investment Group LLC [ECF No. 49]
                   f.        Records Custodian of S & S Design Group LLC [ECF No. 50]

(The November 16 Subpoenas and the November 23 Subpoenas are collectively referred to as the

“Third-Party Subpoenas”)

           6.      The documents responsive to the November 16 subpoena were due on December

10, 2021.

           7.      The documents responsive to the November 23 Subpoenas were due on December

17, 2021 1.

           8.      Despite effectuating proper service in compliance with the bankruptcy rules, the

third parties failed to comply with their respective subpoenas.

           9.      In good faith and to preserve judicial economy, the Trustee attempted to confer

with the third-parties via meet-and-confer correspondences, attached hereto as Composite Exhibit

“A” (the “Meet-and-Confer Letters”).

           10.      Despite the Trustee’s faith efforts in obtaining the documents sought in the Rule 2004

subpoenas,       the     third   parties   have    again       failed   to   comply     in   a   timely   manner.




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    Diego Basile’s deadline to respond to the Rule 2004 Subpoena was January 4, 2022.
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          11.    The third parties’ respective failure to produce the information and documentation

requested by the Trustee is prejudicial to the Trustee's administration of this Estate.

                                              RELIEF REQUESTED

          12.     Federal Rule of Bankruptcy Procedure 2004 provides in relevant part:

                 (c) Compelling Attendance and Production of Documentary
                 Evidence. The attendance of an entity for examination and for the
                 production of documents … may be compelled as provided in Rule
                 9016 for the attendance of a witness at a hearing or trial.

Fed. R. Bankr. P. 2004(c).

          13.    Fed. R. Bankr. P. 2004 allows the Trustee to go on a fishing expedition so long as

the information sought relates to “the acts, conduct, or property or to the liabilities and financial

condition of the debtor, or to any matter which may affect the administration of the debtor's

estate....” In re MMH Auto. Group, LLC, 346 B.R. 229, 233 (Bankr. S.D. Fla. 2006) (citing In re

Wilcher, 56 B.R. 428 (Bankr.N.D.Ill.1985)).

          14.    The documents requested under the Third-Party Subpoenas are straightforward, and

more importantly, squarely within the scope of Fed. R. Bankr. P. 2004 and Fed. R. Civ. P. 45

(applicable pursuant to Fed. R. Bankr. P. 9016).              The Trustee requires such documents to

administer the bankruptcy Estates and, in particular, understand the financial transactions of the

Debtor.

          15.    The Federal Rules of Civil Procedure allow a party to move for an order of

compulsion when the non-party fails to produce documents or fails to appear at their deposition.

Fed. R. Civ. P. 45(d)(2)(A)(i).

          16.    Here, the Trustee seeks an order compelling each recipient of the Third-Party

Subpoenas to produce the documents responsive to their respective subpoena pursuant to Fed. R.

Bankr. P. 2004, 7034, 7037, and 9016.


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        17.     In addition to an order compelling the production of documents, each recipient of

the Third-Party Subpoenas should be required to reimburse the Trustee for her reasonable

attorneys’ fees and costs in connection with this Motion pursuant to Fed. R. Civ. P. 37(a)(5)(A)

and 45(applicable pursuant to Fed. R. Bankr. P. 7037). The disregard by each recipient of the

Third-Party Subpoenas to respond makes an award of attorney’s fees appropriate and just. Upon a

finding of entitlement, Trustee’s counsel will file an affidavit of attorneys’ fees and costs.

        18.     As a further sanction, the Trustee requests that any objections to each recipient of

the Third-Party Subpoenas, except objections based on the attorney client privilege, be deemed

waived.

        19.     In the event that any third-party herein does not respond to its subpoena within

fourteen (14) days, the Trustee requests the Court enter an order to show cause as to why any non-

responsive recipient of each recipient of the Third Party Subpoenas should not be further

sanctioned including, without limitation, additional attorney’s fees and costs, a finding by the

Court that the non-compliant third party has no documents responsive to its subpoena, and a

prohibition that the non-compliant third party may not use any documents responsive to its

subpoena to defend to any action brought by the Trustee against it.

        20.     Accordingly, the Trustee seeks entry of an order compelling each recipient of the

Third-Party Subpoenas to produce all documents under its subpoena within fourteen (14) days of

an order granting this Motion.

        WHEREFORE, the Trustee respectfully requests this Honorable Court enter an order:

                (1) granting the Trustee’s Motion;

                (2) directing E.C.B Commerce, The Wallace Law Group, 244 Wynwood Project,

                251 Wynwood Project, 260 Wynwood Project, JV Investment Group, S & S

                Design, and Diego Basile, each to produce the requested information and

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               documentation sought by the Trustee pursuant to their respect subpoenas within

               fourteen (14) days the entry of a Court Order;

               (3) entering sanctions in the form of attorney’s fees against E.C.B Commerce, The

               Wallace Law Group, 244 Wynwood Project, 251 Wynwood Project, 260 Wynwood

               Project, JV Investment Group, S & S Design, and Diego Basile and waiver of

               objections; and

               (4) granting such other and further relief as this Court deems just and proper.

Respectfully submitted this14th day of February, 2022.
                                                DUNN LAW, P.A.
                                                Counsel for Marcia T. Dunn, Trustee
                                                66 West Flagler Street, Suite 400
                                                Miami, Florida 33130
                                                Tel: 786-433-3866
                                                Fax: 786-260-0269

                                                By:     /s/ Michael P. Dunn
                                                        Michael P. Dunn, Esq.
                                                        Florida Bar No. 100705
                                                        michael.dunn@dunnlawpa.com
                                                        Paula A. Martinez, Esq.
                                                        Florida Bar No. 1017901
                                                        paula.martinez@dunnlawpa.com

                                  CERTIFICATE OF SERVICE

      I CERTIFY that a true and correct copy of the foregoing was served via CM/ECF

notification upon all interested parties registered to receive electronic notices on this matter (which

is incorporated herein by reference) and via First Class U.S. Mail and Certified Mail to all parties

on the Service List below on this 14th day of February, 2022.

                                                By:     /s/ Michael P. Dunn
                                                         Michael P. Dunn, Esq.




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                                           SERVICE LIST
The Wallace Law Group, P.L.
c/o Steven E. Wallace, Managing Member and Registered Agent
2500 Quantum Lakes Drive, Suite 203
Boynton Beach, Florida 33426
E.C.B. Commerce, LLC
c/o Miguel Echeverri, Sr., Managing Member and Registered Agent
1200 NE 134 Street
Miami, Florida 33161
244 Wynwood Project, Inc.
c/o Diego Basile, President
1401 SW 1st Street. Suite 100
Miami, Florida 33135
244 Wynwood Project, Inc.
c/o Sergio Brok, Registered Agent
1401 SW 1st Street. Suite 100
Miami, Florida 33135
251 Wynwood Project, Corp.
c/o Diego Basile, President
1401 SW 1st Street. Suite 100
Miami, Florida 33135
251 Wynwood Project, Corp.
c/o Sergio Brok, Registered Agent
1401 SW 1st Street. Suite 100
Miami, Florida 33135
260 Wynwood Project, Inc.
c/o Diego Basile, President
1401 SW 1st Street. Suite 100
Miami, Florida 33135
260 Wynwood Project, Inc.
c/o Sergio Brok, Registered Agent
1401 SW 1st Street. Suite 100
Miami, Florida 33135
JV Investment Group, LLC
c/o Harvard Business Services, Inc.
16192 Coastal Highway
Lewes, DE 19958
S & S Design Group, LLC
c/o Harvard Business Services, Inc.
16192 Coastal Highway
Lewes, DE 19958
Diego Basile
19370 Collins Avenue, Apt C1425
Sunny Isles Beach, Florida 33160
Diego Basile
1401 SW 1st Street. Suite 100
Miami, Florida 33135

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    COMPOSITE EXHIBIT “A”
           (Meet and Confer Letters)




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                                                                66 WEST FLAGLER STREET, SUITE 400
                                                                              MIAMI, FLORIDA 33130
PAULA A. MARTINEZ, ESQ.                                       TEL: 786-433-3866 || FAX: 786-260-0269
PAULA.MARTINEZ@DUNNLAWPA.COM                                                  WWW.DUNNLAWPA.COM



VIA U.S. Mail:
December 21, 2021

 Records Custodian of E.C.B COMMERCE
 L.L.C.
 c/o Miguel Echeverri, Sr., Reg. Agent
 1200 NE 134 Street
 Miami, FL 33161

 RE:        In Santiago Padilla Ochoa, Chapter 7 Case No. 21-17153-AJC pending before the
            U.S. Bankruptcy Court for the Southern District of Florida
            Trustee’s Notice of Rule 2004 Examination Duces Tecum of Debtor

Dear Mr. Echeverri:

         This Firm is counsel for Marcia T. Dunn as Chapter 7 Trustee of the bankruptcy estate of
 Santiago Padilla Ochoa (the “Debtor”) pending before the United States Bankruptcy Court, Southern
 District of Florida (Miami).

        On November 16, 2021, the Trustee served the Records Custodian of E.C.B Commerce
 L.L.C. with the attached Subpoena for documents, and the documents were due December 10, 2021.

         To date, there has been no production, response or objection to the Subpoena. Please accept
 this correspondence as my meet-and-confer letter.

         Please respond to the subpoena on or before December 28, 2021 at 4:00 P.M. (EST). Failure
 to respond may result in the Trustee seeking to enforce the Subpoena by virtue of filing a motion to
 compel, for sanctions, for an order to show cause, and/or other relief under the Bankruptcy Code.

        Nothing set forth herein is intended, nor shall it be deemed, to modify, limit, release, reduce
 or waive any of the Trustee’s rights or remedies, at law or in equity, all of which are specifically
 reserved. I look forward to you responding to the Subpoena and urge you to avoid the additional
 expense of litigation.

       Thank you in advance for your cooperation in this matter.

       Please do not hesitate to contact me at 786-433-3866 or at the email above.

                                               Sincerely,

                                               /s/ Paula A. Martinez

                                               Paula A. Martinez, Esq.
/mdz                                           For the Firm
Copy: Santiago Padilla Ochoa
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                                                                              MIAMI, FLORIDA 33130
PAULA A. MARTINEZ, ESQ.                                       TEL: 786-433-3866 || FAX: 786-260-0269
PAULA.MARTINEZ@DUNNLAWPA.COM                                                  WWW.DUNNLAWPA.COM


VIA U.S. Mail:
December 21, 2021

 Records Custodian of The Wallace Law
 Group, P.L.
 c/o Steven E. Wallace, Reg. Agent
 2500 Quantum Lakes Dr., #203
 Boynton Beach, FL 33426

 RE:        In Santiago Padilla Ochoa, Chapter 7 Case No. 21-17153-AJC pending before the
            U.S. Bankruptcy Court for the Southern District of Florida
            Trustee’s Notice of Rule 2004 Examination Duces Tecum of Debtor

Dear Mr. Wallace:

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 District of Florida (Miami).

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       Please do not hesitate to contact me at 786-433-3866 or at the email above.

                                               Sincerely,

                                               /s/ Paula A. Martinez

                                               Paula A. Martinez, Esq.
/mdz                                           For the Firm
Copy: Santiago Padilla Ochoa
